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    LETTER TO THE EDITOR



Suicide by Clinic‑Referred Transgender Adolescents in the United
Kingdom
Michael Biggs1

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Introduction                                                                  observed, “the statistic about suicide attempts has, in essence,
                                                                              developed a life of its own” (Tanis, 2016).
Surveys show that adolescents who identify as transgender are                     Representative surveys of students in high schools provide
vulnerable to suicidal thoughts and self-harming behaviors                    one source of evidence for this statistic. In New Zealand, 20%
(dickey & Budge, 2020; Hatchel et al., 2021; Mann et al., 2019).              of transgender students reported attempting suicide in the past
Little is known about death by suicide. This Letter presents data             12 months, compared to 4% of all students (Clark et al., 2014).
from the Gender Identity Development Service (GIDS), the pub-                 In the United States, 15% of transgender students reported a sui-
licly funded clinic for children and adolescents aged under 18                cide attempt requiring medical treatment in the last 12 months,
from England, Wales, and Northern Ireland. From 2010 to 2020,                 compared to 3% of all students (Centers for Disease Control &
four patients were known or suspected to have died by suicide,                Prevention, 2018; Jackman et al., 2021; Johns et al., 2019). In
out of about 15,000 patients (including those on the waiting list).           another American survey, 41% of transgender students reported
To calculate the annual suicide rate, the total number of years               having attempted suicide during their lifetime, compared to 14%
spent by patients under the clinic’s care is estimated at about               of all students (Toomey et al., 2018).
30,000. This yields an annual suicide rate of 13 per 100,000 (95%                 To what extent are self-reported suicide attempts reflected
confidence interval: 4–34). Compared to the United Kingdom                    in fatalities? The connection is not straightforward. Respond-
population of similar age and sexual composition, the suicide                 ents who report suicide attempts are not necessarily indicating
rate for patients at the GIDS was 5.5 times higher. The propor-               an intent to die. One survey of the American population found
tion of patients dying by suicide was far lower than in the only              that almost half the respondents who reported attempting suicide
pediatric gender clinic which has published data, in Belgium                  subsequently stated that their action was a cry for help and not
(Van Cauwenberg et al., 2021).                                                intended to be fatal (Nock & Kessler, 2006). In two small samples
                                                                              of non-heterosexual youth, half the respondents who initially
Suicidality in Transgender Adolescents                                        reported attempting suicide subsequently clarified that they went
                                                                              no further than imagining or planning it; for the remainder who
“About half of young trans people…attempt suicide,” declared the              did actually attempt suicide, their actions were usually not life-
United Kingdom Parliament’s Women and Equalities Committee                    threatening. To an extent, then, “the reports were attempts to
(2015). Similar figures are cited by news media and campaigning               communicate the hardships of lives or to identify with a gay com-
organizations. The Guardian reported Stonewall’s statistic that               munity” (Savin-Williams, 2001). Although such elaborate survey
“almost half” of transgender young people “have attempted to kill             methods have not been used to study transgender populations,
themselves” (Weale, 2017). “Fifty percent of transgender youth                there is anecdotal evidence for a similar disjuncture. The pediatric
attempt suicide before they are at age 21” stated the mother of the           endocrinologist who established the first clinic for transgender
most famous transgender youth in the English-speaking world                   children in the United States stated that “the majority of self-
(Jennings & Jennings, 2016). As a transgender theologian has                  harmful actions that I see in my clinic are not real suicide attempts
                                                                              and are not usually life threatening” (Spack, 2009).
                                                                                  Suicide mortality has been studied in the transgender popula-
                                                                              tion using registry data. The annual suicide rate is calculated by
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                                                                              dividing the number of suicides by the total number of years each
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                                                                              person was at risk. An individual who was observed for 20 years,
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     Department of Sociology and St Cross College, University                 for instance, contributes 20 person-years to the denominator. The
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largest study covers over 8,000 patients who visited the gender          classified as suicide or (after an open verdict by the coroner)
clinic in Amsterdam from 1972 to 2017 (Wiepjes et al., 2020).            probable suicide in the United Kingdom (National Confidential
The annual suicide rate was 29 per 100,000 for transmen, quad-           Inquiry into Suicide & Homicide by People with Mental Illness,
ruple the rate for the female population, and 64 for transwomen,         1999; National Confidential Inquiry into Suicide and Safety in
quadruple the rate for the male population. A Swedish study of           Mental Health, 2019). Papers for the Tavistock’s Board meetings
324 individuals who had undergone genital surgery between                are available from April 2007 onwards; those not on the Trust’s
1973 and 2003 found much higher annual suicide rates: 250                website were acquired by a Freedom of Information request. The
per 100,000 for transmen, 43 times the rate for matched female           pdf files of the Agenda and Papers (through September 2021)
controls, and 285 for transwomen, 16 times the rate for matched          were searched for the keyword “suicid”; all 442 instances were
male controls (M. Boman, personal communication, 12 April                inspected. From 2007 to 2020, four patients of the GIDS died
2021; Dhejne et al., 2011). Only one published study has reported        by suspected suicide: two on the waiting list, in 2016 and 2017;
suicide fatalities among transgender adolescents. Belgium’s pedi-        and two after having been seen, in 2017 and 2020. The last case
atric gender clinic provided counseling to 177 youth aged from           was described as “likely” to be suicide, because the inquest has
12 to 18 years, who had been referred between 2007 and 2016:             not yet been held. These figures were confirmed by Freedom of
five of them (2.8%) committed suicide (Van Cauwenberg et al.,            Information requests to the Tavistock.
2021). The mean age of referral was 15, implying a mean dura-                Triangulation is possible from two sources. Comprehensive
tion of 3 years before transition to an adult clinic, which translates   mortality data on all adolescents aged from 10 to 19 who com-
to an annual suicide rate of 942 per 100,000. This is the highest        mitted suicide in the United Kingdom from 2014 to 2016 include
suicide mortality recorded for any transgender population.               five transgender individuals (Rodway et al., 2020). Due to con-
                                                                         fidentiality restrictions, it is not possible to disaggregate these
                                                                         further by age or by country. Presumably, one of these is the
                                                                         patient of GIDS who died in 2016. The remaining four might
Method                                                                   have been 18 or 19—the risk of suicide increases significantly
                                                                         in the late teens—or might have lived in Scotland. Alternatively,
This Letter estimates the suicide rate at the world’s largest pedi-      they might have been eligible for the GIDS but had not sought a
atric gender clinic. Based in London, the GIDS is part of the            clinical referral (made by the local Child and Adolescent Mental
Tavistock and Portman NHS Foundation Trust, and serves youth             Health Service, the child’s general practitioner, social worker, or
under 18 from England, Wales, and Northern Ireland who are               teacher) or had not obtained it.
“experiencing difficulties with their gender identity develop-               Another source is the Transgender Day of Remembrance
ment” (Carmichael & Davidson, 2009). Like all such services              website, which aims to record all deaths by suicide or violence
throughout Western Europe and North America, it has experi-              (Metcalfe, 2021). For the United Kingdom between 2007 and
enced enormous growth; referrals increased from 100 in 2009 to           2020, the website names 3 adolescents under the age of 18 who
a peak of 2700 in 2019. The waiting list in April 2021 exceeded          committed suicide. One was one of the GIDS patients (the match
5300.                                                                    is certain because they were named in the Agenda and Papers).
    The GIDS patients manifest typically high rates of self-harm-        The other two had no involvement with the GIDS (or any other
ing behavior. In a sample of 900 adolescents (aged from 13 to            gender clinician), as was evident from their inquests, though one
17) admitted to the clinic from 2009 to 2017 and given the Youth         was under the psychiatric care of another NHS Trust (BBC News,
Self-Report questionnaire, 44% answered that they sometimes              2021; Bunyan, 2008). In addition, the website lists suicides by
or very often “deliberately try to hurt or kill myself” (de Graaf        two “young” transgender people, sourced from Twitter, without
et al., 2020). Unfortunately, both behaviors are combined in this        information on their name or age. In one case, it is not clear
question. In a different sample of over 700 children and ado-            whether the person lived in the United Kingdom.
lescents (aged from 4 to 17) assessed by the GIDS in 2012 and
2015, 10% were flagged by clinicians as having attempted suicide         Patients
(Morandini et al., 2021).
                                                                         With suicides as numerator, two denominators are relevant.
Suicides                                                                 Because comprehensive data on patient numbers became avail-
                                                                         able from 2010, the period will be the 11 years from 2010 to
Since the early 2000s, the National Health Service has imple-            2020. (These are financial years; thus, 2020 runs from April 2020
mented mandatory reporting of “serious incidents” (Department            to March 2021.) The first denominator is the total number of
of Health, 2001, 2010). The death of any patient—including               individual patients, estimated by summing the annual number of
those on the waiting list—suspected to be suicide is reported            referrals to the GIDS from 2010 to 2020—excluding those aged
to the Tavistock’s Board of Directors. The Tavistock cooper-             18 or over, as they are not accepted. The total number is 15,032.
ates with a comprehensive surveillance system for every death            This sum omits patients at the clinic who had been referred before

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2010, and so is a slight underestimate. (The Online Supplement        to the National Confidential Inquiry into Suicide and Safety in
provides full details.)                                               Mental Health. All that can be said is that the single suicide by a
    The second denominator is the total number of patient-years:      GIDS patient from 2014 to 2016 is not out of line with compre-
the sum of the number of years spent by each individual as a          hensive mortality data on suicides by transgender adolescents
patient of the GIDS. The number of patients seen by the GIDS          in the United Kingdom which counted five suicides in a longer
each year was available from 2014 to 2020. Before 2014 only the       age range and wider geographical area. The denominator for the
number of patients first seen was available. From 2014 to 2016,       annual suicide rate, however, is pieced together from various
the number of patients seen was consistently double the number        series and so is inevitably approximate. Statistics from the early
first seen, and so the former number for 2010 to 2013 was esti-       2010s are less reliable, though they make only a small contribu-
mated by doubling the latter. All these numbers exclude patients      tion to the grand total; the last three years contribute more than
on the waiting list. The number waiting at the beginning of each      half of the total number of patient-years. The most significant
year from 2016 to 2020 was obtained by Freedom of Information         limitation is the lack of information on the age and sex of all the
request. Before then the number was not available, and so must be     patients who committed suicide.
treated as zero. This leads to an underestimate, of course, but the       Direct comparison can be made with the Belgian pediatric
waiting list became appreciable only from 2015. The total number      gender clinic (Van Cauwenberg et al., 2021). Its annual suicide
of patient-years over this period is estimated as 30,080. In other    rate was about 70 times greater than the rate at the GIDS. This is
words, patients spent on average 2 years at the GIDS (including       especially puzzling because patients at the Belgian clinic scored
time on the waiting list). Time on the waiting list contributed 41%   better, on average, than those at the GIDS on tests of psychologi-
of the total patient-years.                                           cal functioning (de Graaf et al., 2018). The explanation for the
                                                                      huge disparity in suicide is not clear. The Amsterdam’s clinic
                                                                      annual suicide rate was four times greater than the rate at the
Results                                                               GIDS. The higher rate is not surprising, however, because the
                                                                      Dutch clinical population was dominated by older adults: the
From 2010 to 2020, the four suicide deaths equate to 0.03% of         median age at first visit was 25 (Wiepjes et al., 2020). Suicide
the 15,032 patients. Taking the denominator as 30,080 patient-        rates peak in middle age, and so a population of older adults
years, the annual suicide rate is calculated as 13 per 100,000 (95%   would be at higher risk than a population of adolescents.
confidence interval: 4 to 34 per 100,000). For comparison, the            The suicide rate of the GIDS patients is not necessarily
annual suicide rate in England and Wales between 2010 and 2020        indicative of the rate among all adolescents who identify as
for adolescents aged from 15 to 19 years averaged 4.7 (Office for     transgender. On the one hand, individuals with more serious
National Statistics, 2021). This does not quite correspond to the     problems (and their families) would be particularly motivated
age range of the GIDS patients, however. At referral, the patients    to seek referral and more likely to obtain it, and so the clinical
ranged in age from 3 to 17 years; only 7% were younger than 10.       subset would be more prone to suicide. One study suggests
The mean was 14 years and the median 15. Most patients stay           that a child who frequently attempted suicide was more read-
with the GIDS until transitioning to an adult service. Therefore,     ily referred to the GIDS (Carlile et al., 2021). On the other
the average age of patients at any point in time will lie somewhere   hand, young people facing hostility from their families would
between 14 and 17. A better comparison is therefore the overall       be less able to seek referral, and this hostility could make
suicide rate for adolescents aged from 14 to 17 (available only       them especially vulnerable to suicide.
for the entire United Kingdom for 2015–2017), which was 2.7               Taking into account these limitations, the estimated suicide
per 100,000 (Office for National Statistics, 2018; Rodway et al.,     rate at the GIDS provides the strongest evidence yet published
2020). Comparison should also account for the difference between      that transgender adolescents are more likely to commit suicide
the sexes, because males are more likely to commit suicide than       than the overall adolescent population. The higher risk could
females. Of the GIDS patients, 69% were female. Adjusting for         have various causes: gender dysphoria, accompanying psycho-
sex, the GIDS patients were 5.5 times more likely to commit sui-      logical conditions, and ensuing social disadvantages such as
cide than the overall population of adolescents aged 14 to 17.        bullying. Studies of young people referred to the GIDS in 2012
                                                                      and 2015 found a high prevalence of eating disorders, depres-
                                                                      sion, and autism spectrum conditions (ASC) (Holt et al., 2016;
                                                                      Morandini et al., 2021)—all known to increase the probability
Discussion                                                            of suicide (Simon & VonKorff, 1998; Smith et al., 2018). Eating
                                                                      disorders and depression could be consequences of transgender
How reliable are these estimates? The chief uncertainty about         identity and its ensuing social repercussions, but this is implau-
the numerator is whether the fourth death will be ruled as sui-       sible for ASC insofar as it originates in genes or the prenatal
cide when the inquest is eventually held. It could be speculated      environment. From a sample of over 700 referrals to the GIDS in
that there were further suicides unknown to the Tavistock and         2012 and 2015, 14–15% were diagnosed with ASC (Morandini


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et al., 2021). This compared to 0.8–1.1% of students in Eng-                    Declarations
land (Department for Education, 2012, 2015). The association
between autism and gender dysphoria is found in many popu-                      Conflict of interest I acted as an expert witness (without payment) for
lations (Socialstyrelsen, 2020; Warrier et al., 2020). Autism is                the claimant in the case of Bell v Tavistock and Portman NHS Founda-
                                                                                tion Trust [2020] EWHC 3274.
known to increase the risk of suicide mortality, especially in
females (Hirvikoski et al., 2016; Kirby et al., 2019; Socialsty-                Open Access This article is licensed under a Creative Commons Attri-
relsen, 2020). To some extent, therefore, the elevated suicide rate             bution 4.0 International License, which permits use, sharing, adapta-
for transgender youth compared to their peers reflects the higher               tion, distribution and reproduction in any medium or format, as long
                                                                                as you give appropriate credit to the original author(s) and the source,
incidence of ASC. The same holds for other psychiatric disorders
                                                                                provide a link to the Creative Commons licence, and indicate if changes
associated with gender dysphoria (Dhejne et al., 2016). Ideally,                were made. The images or other third party material in this article are
the suicide rate for patients of the GIDS would be compared to                  included in the article's Creative Commons licence, unless indicated
the suicide rate for patients in contact with other NHS mental                  otherwise in a credit line to the material. If material is not included in
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health services, but the latter rate is not available.
                                                                                permitted by statutory regulation or exceeds the permitted use, you will
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tions—gonadotropin-releasing hormone agonist or cross-sex
hormones—affect the risk of suicide (Biggs, 2020; Turban
et al., 2020). Although two out of the four suicides were of                    References
patients on the waiting list, and thus would not have obtained
treatment, this is not disproportionate: the waiting list con-                  BBC News. (2021, June 4). Ellis Murphy-Richards: NHS care ques-
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